      Case:20-14963-KHT
       Case:20-14963-JGR Doc#:1
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                                          United States Bankruptcy Court
IN RE:                                                               Case No.__________________
Armed Beavers LLC                                                               11
__________________________________________________________ Chapter __________________

                                  LIST OF EQUITY SECURITY HOLDERS


 Registered name and last known address of security holder    Shares                 Security Class
                                                              (Or Percentage)        (or kind of interest)

 Richard E. Weingarten                                       50
 697 N. Denver Avenue Suite 128, Loveland, CO 80537




 Chee Wei Fong                                               50
 3751 W 136th Ave S2, Bloomfield, CO 80023
